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 2              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 3
 4      UNITED STATES OF AMERICA,
 5                                                         CR07-5656 JKA
                                 Plaintiff,
 6                        v.                               INITIAL ORDER RE: ALLEGATIONS
                                                           OF VIOLATION OF CONDITIONS
 7      THERON PARKER,                                     OF SUPERVISION BY UNITED
                                                           STATES PROBATION OFFICE
 8                               Defendant.

 9
10   THIS MATTER comes on for hearing on the Petition of the United States Probation Office alleging
     that the defendant has violated the conditions of supervision.
11   The plaintiff appears through Special/Assistant United States Attorney, BARBARA SIEVERS;
12   The defendant appears personally and represented by counsel, PAULA OLSON;

13   The Court having advised the defendant of the allegations in the Petition(s) filed by the U.S. Probation
     Office; the defendant having been advised of the maximum potential sanction if the allegation(s) is/are
14   substantiated; and the court finding probable cause with regard to the alleged violation(s);

15   The matter is scheduled for hearing before the Honorable J. K. ARNOLD.

16                         Date:        NOVEMBER 13, 2008
                           Time:        2:00 P.M.
17   ( X ) Defendant is released pending the above scheduled hearing. ALL CONDITIONED UPON HIS
     BEING IN FULL COMPLIANCE WITH THE TERMS OF PROBATION ENTERED AT THE TIME
18   OF JUDGMENT AND SENTENCE. THE FOLLOWING CONDITION IS ADDED TO THE TERMS
     AND CONDITIONS OF PROBATION AND INCLUDED AS A CONDITION OF HIS REMAINING
19   ON RELEASE PENDING THE ABOVE SCHEDULED HEARING.
            The defendant shall participate as instructed by the U.S. Probation Officer in a program
20          approved by the probation office for treatment of narcotic addition, drug dependency, or
            substance abuse, which may include testing to determine if the defendant has reverted to the
21          use of drugs or alcohol. The defendant shall also abstain from the use of alcohol and/or other
            intoxicants during the term of supervision. Offender must contribute towards the cost of any
22          programs, to the extent the defendant is financially able to do so, as determined by the U.S.
            Probation Officer. Testing shall occur no more than eight times per month.
23              The defendant shall submit to one drug test within 15 days of this date and at least two periodic
24              drug tests thereafter not to exceed eight valid tests per month pursuant to 18 U.S.C.3563(a)(5)
                and 18 U.S.C.3583(d).
25   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
26   the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.

27                                                          October 3, 2008

28                                                          _/s/ J. Kelley Arnold________________
                                                            J. Kelley Arnold, U.S. Magistrate Judge

     ORDER
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